                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JENNIFER GORDON, VALERIE TANTLINGER and
JENNIFER UNDERWOOD, on Behalf of Themselves
and All Others Similarly Situated,                     CIVIL ACTION

                      Plaintiffs,
                                                       Case No.: 2:15-cv-00730-WB
             v.
                                                       MOTION TO COMPEL
KOHL’S DEPARTMENT STORES, INC. and                     INDIVIDUAL
CAPITAL ONE, N.A.,                                     ARBITRATION OF CLAIMS
                                                       OF PLAINTIFFS
                      Defendants.                      TANTLINGER AND
                                                       UNDERWOOD AND TO
                                                       STAY LITIGATION AS TO
                                                       PLAINTIFFS TANTLINGER
                                                       AND UNDERWOOD




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Dated: May 19, 2015
                           MOTION TO COMPEL ARBITRATION

       Defendant Kohl’s Department Stores, Inc. (“Kohl’s” or “Defendant”) hereby moves to

compel arbitration of any claims asserted by Plaintiffs Valerie Tantlinger and Jennifer

Underwood (“Plaintiffs’”) pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1, et seq., and the

written arbitration agreements Plaintiffs entered into and to stay the action as to Plaintiffs

pending the completion of arbitration. In support of its Motion, Defendant incorporates herein

the accompanying Memorandum of Law, Declaration and the attached exhibits.

       WHEREFORE, Kohl’s requests that the Court enter the proposed Order granting the

Motion.



Dated: May 19, 2015                            /s/ Martin C. Bryce, Jr.
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